                    Case MDL No. 2741 Document 2522 Filed 11/01/21 Page 1 of 1
  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 2741                                                      Roundup Products Liability Litigation
MDL No. _____________ & TITLE - IN RE: __________________________________

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

Marita Renteria v. Monsanto Company ; USDC District of New Mexico; 2:21-cv-00994-GBW-SMV
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT

                                                Monsanto Company
The undersigned counsel for ___________________________, (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


             This party's parent corporation(s) are listed below:




✔            The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):


Monsanto is an indirect, wholly-owned subsidiary of Bayer AG. Bayer AG is a publicly held corporation.


OR

        This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.



/s/ Jennise W. Stubbs                                                              SHOOK, HARDY & BACON L.L.P.
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


600 Travis Street, Suite 3400                                                     Houston, Texas 77002-2926
___________________________                                                      ___________________________________
       Address                                                                                          City/State/Zip Code

Date ____11/01/2021____________


Instructions:

1. Download the form. Fill out the form and save as a PDF document. All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Corporate Disclosure Statement. Select Next.
4. Enter the three or four digit number (without the MDL letters) and click the Find This Case button.
5. If this is the correct MDL No., select next. Also, select next for the following screen.
6. Choose the cases for which the Disclosure Statement is being filed.
7. Select the party filing the Disclosure Statement
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filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).
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